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                         14                                UNITED STATES DISTRICT COURT

                         15                                        DISTRICT OF NEVADA

                         16   ROBERT ARMIJO,                                 Case No.: 3:22-cv-00112-MMD-CLB
                         17                           Plaintiff,             DEFENDANT YUGA LABS’ MOTION TO
                                                                             DISMISS PLAINTIFF’S COMPLAINT
                         18   v.                                             AND MEMORANDUM OF POINTS AND
                                                                             AUTHORITIES IN SUPPORT THEREOF
                         19   OZONE NETWORKS, INC. d/b/a OPENSEA,
                              a New York Corporation, YUGA LABS LLC          ORAL ARGUMENT REQUESTED
                         20   d/b/a BORED APE YACHT CLUB, a Delaware
                              limited liability company; LOOKSRARE; and
                         21   DOES 1to 50,
                         22                           Defendants.
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                              YUGA LABS’ MOTION TO DISMISS                              Case No.: 3:22-CV-00112-MMD-CLB
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                          1                        NOTICE OF MOTION AND MOTION TO DISMISS

                          2            Defendant Yuga Labs 1 (“Yuga Labs” or the “Company”), by and through its undersigned

                          3   counsel, and pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6), hereby moves to

                          4   dismiss the negligence claim asserted against it by plaintiff Robert Armijo’s (“plaintiff”) in his

                          5   Complaint (“Complaint” or “Compl.”) (ECF No. 6). This motion is supported by the following

                          6   Memorandum of Points and Authorities, the Declaration of Nicole Muniz, the Request for

                          7   Judicial Notice, the Declaration of Jennifer Bretan and Exhibit A thereto, the pleadings and

                          8   papers on file, any argument of counsel, and such other matters as are properly before the Court.

                          9                        MEMORANDUM OF POINTS AND AUTHORITIES

                         10   I.       INTRODUCTION

                         11            Plaintiff claims to be a victim of theft. As alleged, a bad actor tricked him into providing

                         12   access to his collection of “non-fungible tokens” or “NFTs” and quickly drained plaintiff’s digital
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                         13   wallet of his prized collectibles. Among them, a Bored Ape NFT and two Mutant Ape NFTs that

                         14   plaintiff had purchased in the secondary market. The criminal bad actor quickly offloaded the

                         15   stolen NFTs and, no surprise, disappeared. The theft was unfortunate, not just because valued

                         16   NFTs were stolen. In this case, the misfortune is all the worse because it was plaintiff – no one

                         17   else – who opened the door, unlocked the safe, and, regretfully, let the thief right in.

                         18            Rather than direct his ire at those who actually wronged him, and acknowledge his own

                         19   missteps, however, plaintiff now seeks to lay the blame for these events everywhere else. Thus

                         20   he takes aim, not just at the providers of secondary markets where the thief went on to sell the

                         21   stolen NFTs, but at the original developer of the Bored Ape and Mutant Ape NFTs – Yuga Labs.

                         22   Even though he did not buy his NFTs from Yuga Labs, and even though Yuga Labs had

                         23   nothing whatsoever to do with the theft, plaintiff nonetheless claims that it is somehow negligent

                         24   for not preventing the criminal attack and for not voluntarily coming to his aid in the aftermath.

                         25   Just like Tiffany & Co. is not a downstream insurer of stolen diamond rings, and Topps does not

                         26   guarantee against the theft of treasured baseball cards, however, the law is clear. Absent a special

                         27   1
                               On February 22, 2022, Yuga Labs, LLC converted to a Delaware corporation and is now Yuga
                         28   Labs, Inc.

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                          1   relationship among the parties – and none is alleged here – there is no duty for a private entity

                          2   like Yuga Labs to protect against third-party criminal attacks, provide aid after such attacks, or to

                          3   monitor for holders of potentially stolen NFTs and prevent their use thereafter. Plaintiff cannot

                          4   simply manufacture duties and cry breach to state a claim. This defect alone is fatal to the

                          5   negligence claim against Yuga Labs and means the action against it must be dismissed.

                          6          Plaintiff’s claim against Yuga Labs is subject to dismissal for another reason. Plaintiff

                          7   has not – and cannot – meet his burden to establish that this Court has personal jurisdiction over

                          8   Yuga Labs. Aside from a conclusory claim that Yuga Labs “transacted business in Nevada,”

                          9   there is not a single jurisdictional allegation specifically directed at Yuga Labs that would make

                         10   jurisdiction here appropriate. Instead, plaintiff lumps all defendants together and, in place of the

                         11   requisite showing, offers unsupported, undifferentiated legal conclusions. Such threadbare

                         12   jurisdictional allegations fail as a matter of law. And, at least as to Yuga Labs, the deficiency
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                         13   cannot be cured. Yuga Labs is a Delaware entity. It has no offices in Nevada, and none of its

                         14   employees or contractors reside there. Yuga Labs has never purchased or used any advertising

                         15   space in Nevada and has never held a sales or marketing event – or any event of any kind – in

                         16   Nevada. To the extent Yuga Labs ever sold anything to residents of Nevada (which even plaintiff

                         17   does not allege), any such sales have no connection whatsoever to plaintiff’s claim here. Nor is

                         18   jurisdiction established merely because a publicly available information and discussion channel

                         19   hosted by Yuga Labs was accessible to plaintiff in Nevada. Such sites and interactions are not

                         20   the sort of commercial activity that allow for the exercise of jurisdiction.

                         21          Even if plaintiff could establish personal jurisdiction and conjure up some sort of special

                         22   relationship or cognizable legal duty on the scant facts here, the negligence claim against Yuga

                         23   Labs still fails on the merits. The other essential elements of a claim – breach, causation, and

                         24   damages – are altogether lacking here. As noted, Yuga Labs cannot have breached a duty that

                         25   does not exist as a matter of law. And as for causation, plaintiff offers only the implausible legal

                         26   conclusion that Yuga Labs somehow caused plaintiff’s injuries by creating a series of NFTs that

                         27   later became so popular (and valuable) that bad actors now want to steal them. That theory of

                         28   causation is not only nonsensical, it is plainly belied by specific allegations demonstrating that

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                          1   the theft was the direct product of third-party criminal activity and would not have occurred but

                          2   for plaintiff’s own negligence. Finally, and setting aside plaintiff’s inflated figures, the economic

                          3   loss doctrine bars any claimed damages.

                          4           Yuga Labs feels for victims of theft and hopes plaintiff tracks down the actual wrongdoer.

                          5   But he has no factual or legal basis for naming Yuga Labs in this case. Personal jurisdiction is

                          6   absent. No cognizable legal duty is alleged, much less breach, causation, or damages. Because

                          7   none of these defects can be cured, Yuga Labs should be dismissed with prejudice.

                          8   II.    STATEMENT OF FACTS

                          9          A.      Yuga Labs

                         10                  1.      Yuga Labs’ Lack of Activity in Nevada

                         11           At the time of the events at issue in the Complaint, Yuga Labs was a Delaware limited

                         12   liability company with its principal place of business in Alexandria, Virginia. Compl. ¶ 16. It
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                         13   subsequently converted to a Delaware corporation. See Declaration of Nicole Muniz (“Muniz

                         14   Decl.”) ¶ 2. Yuga Labs does not have any offices in Nevada. Id. ¶ 3. Not one of Yuga Labs’

                         15   employees or contractors resides in Nevada. Id. Yuga Labs has never purchased or used any

                         16   physical advertising space in the state of Nevada, and it has never held a sales or marketing event

                         17   – or an event of any kind – in the state of Nevada. Id.

                         18                  2.      The Bored Ape and Mutant Ape NFTs
                         19          Yuga Labs is the developer of smart contracts (programmed lines of code) that, when

                         20   executed on the Ethereum blockchain, allow individuals a license to mint pieces of digital art

                         21   (“non-fungible tokens” or “NFTs”). Muniz Decl. ¶ 4. As part of a large-scale, community-driven

                         22   art project, in early 2021, it created a smart contract for a series of NFTs called “Bored Apes.” Id.

                         23   ¶ 5; see also Compl. ¶ 34. After Yuga Labs launched the smart contract in April 2021, collectors

                         24   used the smart contract to mint a digital Bored Ape NFT (from a collection 10,000 Bored Apes

                         25   that were made available to be minted) by paying 0.08 ETH (a cryptocurrency) to Yuga Labs as

                         26   the developer. Muniz Decl. ¶ 5. The complete series sold out by May 1, 2021. Id. Based on the

                         27   price of 0.08 ETH in the period Bored Ape NFTs were available to be minted, each Bored Ape

                         28   cost approximately $169 to $236. Id. Later in 2021, Yuga Labs created another smart contract (a

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                          1   “serum”) that, when executed, allowed individual Bored Ape owners to receive a “mutant”

                          2   version of their Bored Ape NFT, resulting in another series of digital art collectibles, each a

                          3   “Mutant Ape.” Id. ¶ 6. An additional 10,000 Mutant Ape NFTs were made available to mint,

                          4   whether or not an individual held a Bored Ape NFT. Id.; see also Compl. ¶ 34.

                          5                  3.      The Bored Ape Yacht Club

                          6          Once minted, a Bored Ape or Mutant Ape NFT confers on its holder certain commercial

                          7   rights with respect to content featured on the NFT, which rights are tied to and transfer along

                          8   with the NFT. Muniz Decl. ¶ 7. Yuga Labs does not control secondary purchases, sales, transfer,

                          9   or trading of Bored Ape or Mutant Ape NFTs. Id. While in possession of a Bored Ape or

                         10   Mutant Ape NFT, holders may also be eligible for certain benefits and opportunities, the vast

                         11   majority of which are offered by third parties unaffiliated with Yuga Labs. Id. ¶ 8. Indeed, as the

                         12   Bored Ape and Mutant Ape project took hold in the collective imagination, it spawned countless
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                         13   third-party websites, online and offline events, and other community-driven initiatives which

                         14   Yuga Labs does not control. Id. ¶ 9; see also Compl. ¶ 38. Yuga Labs maintains a website, the

                         15   “Bored Ape Yacht Club” or “BAYC” (boredapeyachtclub.com), which is the virtual “home” of

                         16   Bored Apes and Mutant Apes. Muniz Decl. ¶ 8. But, other than an ongoing token-gated feature,

                         17   allowing NFT holders to make pixel-by-pixel contributions to a communal artwork, the site is

                         18   largely passive and informational and does not provide specific benefits to NFT holders. Id.

                         19                  4.      The Yuga Labs Discord Server

                         20          Yuga Labs also hosts a BAYC Discord channel. Muniz Decl. ¶ 10. The BAYC Discord

                         21   is also an informational space, where individuals can learn of new announcements, review

                         22   frequently asked questions, discuss Yuga Labs’ various projects with other NFT holders and

                         23   enthusiasts, or visit Yuga Labs’ official channels across the web through verified links. Id. Yuga

                         24   Labs does not sell anything to anyone through the BAYC Discord. Id. The BAYC Discord is

                         25   accessible worldwide and includes both a public facing and token-gated channel. Id. ¶ 11. The

                         26   Yuga Labs employees who provide support on the BAYC Discord are not based in Nevada. Id.

                         27          B.      The Alleged Purchase and Theft of Plaintiff’s NFTs

                         28           At the heart of this suit are three NFTs plaintiff bought from sellers (not Yuga Labs) on

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                          1   the OpenSea marketplace. Compl. ¶¶ 30-32. Specifically, BAYC #4329 (a Bored Ape NFT

                          2   plaintiff bought on November 14, 2021) and MAYC #1819 and MAYC #7713 (two Mutant Ape

                          3   NFTs purchased on November 15, 2021 and January 2, 2022, respectively). Id.

                          4          As plaintiff recounts it, on February 1, 2022, he decided to trade away one of his Mutant

                          5   Ape NFTs. Id. ¶ 46. Without any involvement by Yuga Labs, plaintiff visited a Discord server

                          6   for Cool Cats (another NFT collection) and, using a chat feature, found a user (@Nodelee) who

                          7   was interested in exchanging Cool Cats NFTs for one of plaintiff’s Mutant Apes. Id. ¶¶ 46-47.

                          8   After rejecting several “unfamiliar” trading sites proposed by @Nodelee, plaintiff suggested the

                          9   “NFT Trader” website because he heard “from several reliable NFT community members” that it

                         10   was a “legitimate and trustworthy trading platform.” Id. ¶ 47. But rather than navigating to the

                         11   NFT Trader website and setting up the trade himself, plaintiff instead chose to use a link provided

                         12   by @Nodelee. Id. ¶¶ 48-49. Plaintiff claims the link opened what appeared to be the NFT Trader
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                         13   website. Id. ¶ 49. Once there, plaintiff verified that the information for the planned trade was

                         14   correct and clicked a button to approve it. Id. ¶ 50. Nothing happened. Id. So, plaintiff clicked

                         15   the button to approve the trade several more times. Id. Only then did plaintiff see that the

                         16   amount of ETH in his digital wallet had dropped. Id. Checking his wallet, he also discovered

                         17   that his Bored Ape NFT and Mutant Ape NFTs were gone. Id. Plaintiff realized his mistake: the

                         18   link sent by @Nodelee was to a fake website instead of the real NFT Trader website. Id. ¶ 51.

                         19   Apparently, each time he clicked the button, plaintiff was providing @Nodelee access to (and the

                         20   opportunity to steal from) his digital wallet. Id.

                         21          C.      Plaintiff’s Alleged Interactions with Yuga Labs

                         22          Plaintiff does not allege that he purchased the Bored Ape and Mutant Ape NFTs at issue

                         23   from Yuga Labs. See Compl. ¶¶ 30-32. Nor does he allege that Yuga Labs was connected in any

                         24   way to @Nodelee (or whoever it was that stole his NFTs), or to the series of events that enabled

                         25   that theft, or to any of the software or mechanisms used to steal his NFTs. Id. ¶¶ 46-51. Yuga

                         26   Labs also had nothing to do with the eventual resale of plaintiff’s NFTs, nor could it have. Id. ¶¶

                         27   60, 62. As plaintiff notes, the blockchain is decentralized, and transactions cannot be undone,

                         28   and become “permanent and irreversible.” Id. ¶ 4; see also Muniz Decl. ¶ 8.

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                          1            Plaintiff’s sole purported interaction with Yuga Labs in connection with the theft was an

                          2   after-the-fact exchange based on a help ticket he submitted on the BAYC Discord seeking

                          3   support. Id. ¶ 55. Plaintiff asked the Yuga Labs representative to post about plaintiff’s stolen

                          4   NFTs on social media and to “blacklist” and deny any holder of the stolen NFTs access to the

                          5   Bored Ape Yacht Club website, supposedly to “disincentivize the theft” (although the theft had

                          6   already occurred). Id. ¶ 57. According to plaintiff, the Yuga Labs representative explained that it

                          7   was really an “issue between him and OpenSea” and, while the Company was sorry to hear about

                          8   what happened, there was nothing Yuga Labs could do to help him. Id. ¶ 56. Plaintiff claims no

                          9   other interaction with Yuga Labs, its employees, or any of its services or products.

                         10   III.    ARGUMENT
                         11           A.      Personal Jurisdiction Over Yuga Labs Is Absent
                         12           Plaintiff bears the burden of establishing personal jurisdiction. See Schwarzenegger v.
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                         13   Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004) (plaintiff must plead facts sufficient

                         14   for a prima facie showing of jurisdiction). In the Ninth Circuit, “personal jurisdiction over a

                         15   defendant is proper if it is permitted by a long-arm statute and if the exercise of that jurisdiction

                         16   does not violate federal due process.” Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1154-55 (9th

                         17   Cir. 2006) (citing Fireman’s Fund Ins. Co. v. Nat’l Bank of Coops., 103 F.3d 888, 893 (9th

                         18   Cir.1996)). Nevada’s long-arm statute allows courts to “exercise jurisdiction over a party to a

                         19   civil action on any basis not inconsistent with the Constitution of this state or the Constitution of

                         20   the United States.” Nev. Rev. Stat. § 14.065(1). Thus, personal jurisdiction in Nevada is proper

                         21   only if it comports with federal due process. See Nevada Power Co. v. SAS, 2015 WL 6737015,

                         22   at *1 (D. Nev. Nov. 2, 2015). To satisfy due process, a defendant, if not present in the forum,

                         23   must have “minimum contacts” with the forum state such that the assertion of jurisdiction “does

                         24   not offend ‘traditional notions of fair play and substantial justice.’” Int’l Shoe Co. v. Washington,

                         25   326 U.S. 310, 316 (1945) (quotation omitted). Here, the burden has not been met.

                         26                   1.     Boilerplate Recitals Of Jurisdiction Fail As A Matter Of Law

                         27            The Complaint does not contain a single jurisdictional allegation specific to Yuga Labs.

                         28   Instead, plaintiff generally alleges that this Court has personal jurisdiction over all defendants

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                          1   because they “purposefully direct their conduct at Nevada, transact substantial business in

                          2   Nevada, have substantial aggregate contacts with Nevada, have engaged and are engaging in

                          3   conduct that has and had a direct, substantial, reasonably foreseeable and intended effect of

                          4   causing injury to persons in Nevada.” Compl. ¶ 19. These threadbare recitals – which make no

                          5   distinctions among the defendants – are plainly insufficient to meet plaintiff’s burden. See

                          6   Walden v. Fiore, 571 U.S. 277, 285 (2014) (affirming dismissal where plaintiff pleaded no facts

                          7   alleging defendant’s connection to forum state aside from plaintiff’s domicile); Swartz v. KPMG

                          8   LLP, 476 F.3d 756, 766 (9th Cir. 2007) (“mere ‘bare bones’ assertions of minimum contacts with

                          9   the forum or legal conclusions unsupported by specific factual allegations will not satisfy a

                         10   plaintiff’s pleading burden”); In re W. States Wholesale Nat. Gas Antitrust Litig., 2007 WL

                         11   4284759, at *6-9 (D. Nev. Nov. 28, 2007) (“conclusory allegations” that “lump together all

                         12   [d]efendants” insufficient to establish personal jurisdiction); NuCal Foods, Inc. v. Quality Egg
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                         13   LLC, 887 F. Supp. 2d 977, 988 (E.D. Cal. 2012) (“legal conclusions” insufficient to show

                         14   personal jurisdiction). This alone is a basis to dismiss under Rule 12(b)(2).

                         15                  2.      Plaintiff Also Cannot Allege General Jurisdiction Over Yuga Labs
                         16          “A court may assert general jurisdiction over foreign (sister-state or foreign country)

                         17   corporations to hear any and all claims against them when their affiliations with the State are so

                         18   ‘continuous and systematic’ as to render them essentially at home in the forum State.” Goodyear

                         19   Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011); see also Daimler AG v.

                         20   Bauman, 571 U.S. 117, 127 (2014). After Daimler, a corporation is generally “at home” only in

                         21   its state of incorporation and where its principal place of business is located, absent some

                         22   “continuous and systematic” business contacts in another state. See Daimler, 571 U.S. at 127.

                         23          General jurisdiction is not established on the facts alleged here. Yuga Labs is a Delaware

                         24   corporation. See Muniz Decl. ¶ 2. Plaintiff sets forth no facts to support general jurisdiction over

                         25   Yuga Labs beyond a single, conclusory claim that it transacts substantial business in Nevada.

                         26   This is not true and does not suffice. See Reynolds v. Binance Holdings Ltd., 481 F. Supp. 3d

                         27   997, 1003-04 (N.D. Cal. 2020) (no general personal jurisdiction over corporation that did not

                         28   have its principal place of business in California where plaintiff failed to identify any other facts

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                          1   that would place corporation “at home” in California); Matthews v. Brookstone Stores, Inc., 469

                          2   F. Supp. 2d 1056 (S.D. Ala. 2007) (holding that passive website and toll-free telephone number is

                          3   insufficient to establish general personal jurisdiction); Mavrix Photo, Inc. v. Brand Techs., Inc.,

                          4   647 F.3d 1218, 1226 (9th Cir. 2011) (“[A]n interactive website—even a ‘highly interactive’

                          5   website—does not confer general jurisdiction.”).

                          6                  3.      Plaintiff Cannot Allege Specific Jurisdiction Over Yuga Labs
                          7          Specific jurisdiction over Yuga Labs is also lacking unless three requirements are met:

                          8   (1) Yuga Labs “must purposefully direct [its] activities or consummate some transaction with the

                          9   forum or resident thereof; or perform some act by which [it] purposefully avails himself of the

                         10   privilege of conducting activities in the forum, thereby invoking the benefits and protections of

                         11   its laws;” (2) “the claim must be one which arises out of or relates to the defendant’s forum-

                         12   related activities;” and (3) “the exercise of jurisdiction must comport with fair play and
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                         13   substantial justice, i.e. it must be reasonable.” Schwarzenegger, 374 F.3d at 802 (citing Lake v.

                         14   Lake, 817 F.2d 1416, 1421 (9th Cir. 1987)). This test helps to “ensure[] that a defendant will not

                         15   be haled into a jurisdiction solely as a result of random, fortuitous, or attenuated contacts.”

                         16   Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985) (citation omitted). “If any of the

                         17   three requirements is not satisfied, jurisdiction in the forum would deprive the defendant of due

                         18   process of law.” Omeluk v. Langsten Slip & Batbyggeri A/S, 52 F.3d 267, 270 (9th Cir.1995).

                         19   “The plaintiff bears the burden of satisfying the first two prongs of the [minimum contacts] test.”

                         20   Schwarzenegger, 374 F.3d at 802. Plaintiff does not come close to meeting the test here.

                         21                          a.     Plaintiff Cannot Establish Specific Personal Jurisdiction Based
                                                            On Yuga Labs’ Purported Sales Or Advertising In Nevada
                         22

                         23          In an ostensible attempt to satisfy his burden, plaintiff alleges that Yuga Labs “transacted

                         24   business in Nevada.” Compl. Id. ¶ 16. But that averment is wholly conclusory and not enough.

                         25   Plaintiff does not allege sales or advertising by Yuga Labs in Nevada. Plaintiff also admits that

                         26   his Bored Ape and Mutant Ape NFTs were purchased from a secondary seller, not Yuga Labs.

                         27   Id. ¶¶ 30-32. Even if plaintiff sought to cure those defects, by adding allegations about Nevada

                         28   sales or advertising, that does not help plaintiff meet his burden to establish personal jurisdiction

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                          1   in this case, where any such activities would be entirely unconnected to plaintiff’s claim.

                          2          It is well-established that “[t]he placement of a product into the stream of commerce,

                          3   without more, is not an act of the defendant purposefully directed toward the forum State.” Asahi

                          4   Metal Indus. Co. v. Superior Ct. of Cal., Solano Cnty., 480 U.S. 102, 112 (1987). As such, the

                          5   mere fact that Bored Ape and Mutant Ape NFTs ultimately ended up in the hands of a Nevada

                          6   resident does not support personal jurisdiction over Yuga Labs in Nevada. Moreover, even if

                          7   plaintiff could show that Yuga Labs sold NFTs to Nevada residents, that still would not suffice to

                          8   establish jurisdiction here, where plaintiff purchased the subject NFTs from unrelated sellers and

                          9   where those sales have no connection to his negligence claim, which is about theft of NFTs from

                         10   him, not sale of NFTs to him. See ThermoLife Int’l, LLC v. NetNutri.com LLC, 813 F. App’x

                         11   316, 318 (9th Cir. 2020) (“ThermoLife cannot establish specific personal jurisdiction through

                         12   nonspecific, nationwide sales, as, in the context of this case, any contact with Arizona would be
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                         13   ‘random, fortuitous, or attenuated.’ . . . ThermoLife failed to demonstrate that its claims arose out

                         14   of or related to NetNutri’s forum state contacts.”) (internal citations omitted).

                         15          Not only are there no sales allegations establishing state-directed activities, Yuga Labs

                         16   has never purchased or used any physical advertising space in Nevada and has not held sales or

                         17   marketing events – or events of any kind – in the state of Nevada. See Muniz Decl. ¶ 3. Even if

                         18   plaintiff could show advertising by Yuga Labs in Nevada – and he cannot – once again, it would

                         19   be unthethered to his claim. See Schwarzenegger, 374 F.3d at 802 (no personal jurisdiction

                         20   unless claim “arises out of or relates to the defendant’s forum-related activities”); cf. Sinatra v.

                         21   Nat’l Enquirer, Inc., 854 F.2d 1191, 1195-98 (9th Cir. 1988) (finding purposeful availment based

                         22   on advertising where the claim itself was based on the content of the advertisements at issue).

                         23                          b.      Plaintiff Cannot Establish Specific Personal Jurisdiction Based
                                                             On The BAYC Website Or Discord Server
                         24

                         25          Whether the operation of a website constitutes “express aiming” sufficient to confer

                         26   personal jurisdiction “is directly proportionate to the nature and quality of commercial activity

                         27   that an entity conducts” through the website. Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F.

                         28   Supp. 1119, 1124 (W.D. Pa. 1997); see Cybersell, Inc. v. Cybersell, Inc., 130 F.3d 414, 419 (9th

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                          1   Cir.1997) (adopting Zippo sliding scale test). There can be no personal jurisdiction where a

                          2   defendant operates a “passive [w]ebsite that does little more than make information available to

                          3   those who are interested in it.” Zippo, 952 F. Supp. at 1124; see also Pebble Beach, 453 F.3d at

                          4   1160 (website advertising bed and breakfast’s accommodations, including lodging rates, menu,

                          5   and wine list, was passive and thus insufficient to confer personal jurisdiction). Even where a

                          6   website allows users to exchange information, personal jurisdiction only exists if the exchange is

                          7   “commercial” in nature. Zippo, 952 F. Supp. at 1124.

                          8           Here, Plaintiff does not, and cannot, allege that the BAYC website or BAYC Discord are

                          9   commercial in nature. As to the former, plaintiff alleges no related interaction with the website,

                         10   much less rising to the level of commercial activity. As to the latter, as set forth below, his

                         11   limited interaction with a support representative on the BAYC Discord does not suffice. Even if

                         12   the BAYC Discord channel could be deemed commercial activity directed at the forum (it is not),
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                         13   plaintiff’s claim does not arise from provision of the BAYC Discord, and so specific personal

                         14   jurisdiction on that basis fails.

                         15                                   (1)   The BAYC Discord Server Is Passive

                         16           A website that “simply post[s] information . . . which is accessible to users in foreign

                         17   jurisdictions” is passive. Zippo, 952 F. Supp. at 1124; see also Software Dev. & Inv. of Nevada v.

                         18   Wall, 2006 WL 8442597, at *2 (D. Nev. Feb. 13, 2006) (“[P]assive websites provide information

                         19   and advertising and nothing more . . . [they] cannot confer specific personal jurisdiction.”)

                         20   (internal quotations omitted). “There has to be something more than mere advertisement on the

                         21   Internet alone to indicate that the defendant purposefully (albeit electronically) directed his

                         22   activity in a substantial way to the forum state.” Desert Rock Ent. II LLC v. D. Hotel & Suites,

                         23   Inc., 2016 WL 1732724, at *4 (D. Nev. May 2, 2016) (internal quotations omitted) (no personal

                         24   jurisdiction where hotel website did not geographically target the forum or forum residents,

                         25   despite allowing forum residents to book rooms through website).

                         26           Software Development is instructive. There, the court held that defendant’s maintenance

                         27   of “a ‘blog’ where he and third parties [could] post comments and remarks[,] which constitute[d]

                         28   a majority of the site’s format,” was not sufficiently commercial to confer personal jurisdiction –

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                          1   even though the defendant also allegedly sold a book through the site. Software Dev., 2006 WL

                          2   8442597, at *3. The court rejected personal jurisdiction “based on the mere possibility that

                          3   Defendant will sell books to Nevada residents,” reasoning that “minimal purchases by forum

                          4   residents through a website are insufficient to establish personal jurisdiction.” Id. Although the

                          5   blog site was “interactive in the sense that it allow[ed] individuals to read and post comments on

                          6   a forum,” it did “not rise to the level of interactivity to tip the ‘sliding scale’ in favor of personal

                          7   jurisdiction.” Id.; see also Medinah Mining, Inc., v. Amunategui, 237 F. Supp. 2d 1132, 1135 (D.

                          8   Nev. 2002) (website that allowed the public to view and post information regarding companies

                          9   was passive and thus insufficient to confer personal jurisdiction).

                         10           If the websites in Software Development and Medinah were not sufficiently commercial

                         11   so as to confer personal jurisdiction, then neither is the BAYC Discord, which is akin to a forum

                         12   or blog allowing parties to exchange communications. The BAYC Discord is an informational
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                         13   space. See Muniz Decl. ¶ 10. Users visit the channel to learn about announcements or frequently

                         14   asked questions, discuss Yuga Labs’ various projects with other collectors and enthusiasts, or to

                         15   visit Yuga Labs’ official channels through verified links. Id. If anything, the BAYC Discord

                         16   channel is even less interactive than the blog in Software Development because nothing is sold

                         17   through the BAYC Discord server. Id. There must be “something more” to establish specific

                         18   personal jurisdiction – and here, there is not. Desert Rock, 2016 WL 1732724, at *4. While the

                         19   BAYC Discord may be open to Nevada residents, it simply does not target them. Muniz Decl.

                         20   ¶ 11; see TransparentBusiness, Inc. v. Infoba, 2021 WL 2670704, at *3-4 (D. Nev. Jun. 29, 2021)

                         21   (no specific jurisdiction where website not aimed at Nevada or its residents). Standing alone, the

                         22   availability of the BAYC Discord channel is not enough to establish personal jurisdiction.

                         23           Plaintiff’s limited interaction with a Yuga Labs representative on the BAYC Discord does

                         24   not alter that fact. First, as a threshold matter, “the relationship must arise out of contacts that the

                         25   ‘defendant [it]self’’ creates with the forum state,” and the defendant’s contacts must be “with the

                         26   forum State itself, not . . . with persons who reside there.” Walden, 571 U.S. at 284-85 (internal

                         27   citations omitted); Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 417 (1984)

                         28   (“[The] unilateral activity of another party or a third person is not an appropriate consideration

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                          1   when determining whether a defendant has sufficient contacts with a forum State to justify an

                          2   assertion of jurisdiction.”). Here, Yuga Labs did not initiate the support interaction with plaintiff.

                          3   See Compl. ¶ 55. But even if it had, that would just be remote contact with a person residing in

                          4   the forum, not contact with the forum itself. See Walden, 571 U.S. at 285. (“[T]he plaintiff

                          5   cannot be the only link between the defendant and the forum. Rather, it is defendant’s conduct

                          6   that must form the necessary connection with the forum State that is the basis for its jurisdiction

                          7   over him.”). Second, Courts routinely find that support is not commercial activity sufficient to

                          8   establish personal jurisdiction over a defendant. See e.g., Boehm v. Airbus Helicopters Inc., 527

                          9   F. Supp. 3d 1112, 1119-20 (D. Ariz. 2020) (rejecting claim that “personal jurisdiction over

                         10   Defendant is appropriate because it is engaging in ‘Arizona-based customer service, Arizona-

                         11   based marketing and sales, and Arizona-based advice’”); Nimbus Data Sys., Inc. v. Modus LLC,

                         12   2014 WL 7387200, at *5 (N.D. Cal. Dec. 29, 2014) (no purposeful availment in California based
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                         13   on sale of computer equipment and ongoing tech support provided to California company);

                         14   Treasury Mgmt. Servs., Inc. v. Wall St. Sys. Del. Inc., 2016 WL 6916236, at *7 (S.D. Tex. Mar.

                         15   16, 2016) (rejecting personal jurisdiction based on fact that technical support was available to

                         16   Texans on defendants’ website). On both counts, plaintiff’s self-initiated help ticket on the

                         17   BAYC Discord fails to establish personal jurisdiction over Yuga Labs.

                         18                                 (2)     The Claim Does Not Arise From The Discord Server

                         19          Under the second prong of the Ninth Circuit’s test for specific personal jurisdiction, “the

                         20   claim must be one which arises out of or relates to the defendant’s forum-related activities.” See,

                         21   e.g., Schwarzenegger, 374 F.3d at 802 (9th Cir. 2004). Stated differently, it asks whether

                         22   defendant’s forum-related activity was a “but for” cause of plaintiff’s harm. Ballard v. Savage,

                         23   65 F.3d 1495, 1500 (9th Cir. 1995). Nothing in Yuga Labs’ operation of the BAYC Discord was

                         24   a “but for” cause of plaintiff’s alleged injury. It did not contribute to the theft of his Bored Ape

                         25   and Mutant Ape NFTs, nor is it tied to alleged downstream consequences of his having been the

                         26   victim of theft. See Compl. ¶ 143. Yuga Labs did not cause plaintiff to contact @Nodelee (on

                         27   the Cool Cats Discord) to trade his NFTs. It did not deploy a phishing scam to steal plaintiff’s

                         28   NFTs. And, even if Yuga Labs’ operation of its own BAYC Discord channel could be deemed a

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                          1   forum-related activity (it is not), plaintiff’s claim (based on events that had already transpired)

                          2   does not arise out of or relate to it. In such circumstances, personal jurisdiction simply does not

                          3   attach. See, e.g., Haisten v. Grass Valley Med. Reimbursement Fund, Ltd., 784 F.2d 1392, 1400

                          4   (9th Cir. 1986) (cause of action must arise out of forum-related activities).

                          5                          c.      The Exercise Of Jurisdiction Is Unreasonable
                          6          In the absence of any activity by Yuga Labs in Nevada, much less activity even arguably

                          7   tied to plaintiff’s claim, the exercise of jurisdiction here is unreasonable. Paccar Int’l, Inc. v.

                          8   Com. Bank of Kuwait, S.A.K., 757 F.2d 1058, 1065-66 (9th Cir. 1985) (even if minimum contacts

                          9   test met, no personal jurisdiction where exercise of jurisdiction was unreasonable). In making

                         10   that assessment, the Ninth Circuit evaluates a number of factors, including: (1) the extent of the

                         11   purposeful interjection into the forum state, (2) the burden on defendant of defending in the

                         12   forum, (3) the extent of conflict with the sovereignty of defendant's state, (4) the forum state's
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                         13   interest in adjudicating the dispute, (5) the most efficient judicial resolution of the controversy,

                         14   (6) the importance of the forum to plaintiff's interest in convenient and effective relief, and (7)

                         15   the existence of an alternative forum. See id. Here, the factors overwhelmingly reflect that

                         16   jurisdiction in Nevada is not reasonable. Yuga Labs directed no actions at the state. It is a

                         17   Delaware entity, has no employees in Nevada, and any evidence relating to it would be outside

                         18   the state. Muniz Decl. ¶¶ 2-3. Because plaintiff could just as easily seek relief in a forum where

                         19   general jurisdiction is available, and as there is no special state interest to speak of, burdening

                         20   Yuga Labs with litigation in Nevada, simply because plaintiff is found here, is both unwarranted

                         21   and unreasonable.

                         22           B.      Plaintiff Fails To State A Claim For Negligence Against Yuga Labs

                         23          Even if plaintiff had met his jurisdictional burden, the negligence claim against Yuga

                         24   Labs fails as a matter of law and must be dismissed. A complaint must contain sufficient factual

                         25   matter to “state a claim to relief that is plausible on its face” in order to survive a motion to

                         26   dismiss under Rule 12(b)(6). Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). This requires plaintiff

                         27   to plead “more than labels and conclusions” or a “formulaic recitation of the elements of a cause

                         28   of action.” Id. “Factual allegations must be enough to raise a right to relief above the speculative

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                          1   level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). The facts offered must “plausibly

                          2   suggest an entitlement to relief, such that it is not unfair to require the opposing party to be

                          3   subjected to the expense of discovery and continued litigation.” Starr v. Baca, 652 F.3d 1202,

                          4   1216 (9th Cir. 2011). Unless a claim crosses the line from what is merely conceivable, to

                          5   plausible, the complaint must be dismissed. Twombly, 550 U.S. at 570.

                          6            Plaintiff asserts that Yuga Labs was negligent. Compl. ¶¶ 137-145. To state a negligence

                          7   claim under Nevada law, plaintiff must allege that “(1) the defendant owed the plaintiff a duty of

                          8   care, (2) the defendant breached that duty, (3) the breach was the legal cause of the plaintiff’s

                          9   injuries, and (4) the plaintiff suffered damages.” Foster v. Costco Wholesale Corp., 291 P.3d 150,

                         10   153 (Nev. 2012) (quotation omitted); accord Sanchez v. Wal-Mart Stores, Inc., 221 P.3d 1276

                         11   (Nev. 2009). The Complaint here fails as to all four elements. As an initial matter, plaintiff does

                         12   not and cannot plausibly allege “an existing duty of care” owed to plaintiff by Yuga Labs. That
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                         13   defect alone is fatal to the negligence claim. Insco v. Aetna Health & Life Ins. Co., 673 F. Supp.

                         14   2d 1180, 1191 (D. Nev. 2009) (absent showing an “existing duty of care” no prima facie claim

                         15   for negligence); see also Spartalian v. Citibank, N.A., 2013 WL 593350, at *6 (D. Nev. Feb. 13,

                         16   2013) (dismissing negligence claim where Nevada law does not recognize plaintiff’s alleged

                         17   duty). Putting aside that no cognizable legal duty is alleged, the other elements of a negligence

                         18   claim are just as defective where it cannot be shown that Yuga Labs breached any applicable

                         19   standard of care, where the causation allegations do not rise beyond mere legal conclusions, and

                         20   where no damages are available on the claim. Twombly, 550 U.S. at 555 (2007). 2

                         21                  1.      Plaintiff Cannot Allege That Yuga Labs Owed Him A Duty Of Care

                         22            Under Nevada law, “liability based on negligence does not exist in the absence of a

                         23   breach of duty.” Bradshaw v. Blystone Equip. Co. of Nev., 386 P.2d 396, 397 (Nev. 1963); see

                         24   also Sanchez, 221 P.3d at 1280-81. Whether a duty of care exists is a question of law decided by

                         25   the Court. Id. at 1280 (affirming dismissal of negligence claim where no duty found as a matter

                         26   of law); Scialabba v. Brandise Constr. Co., 921 P.2d 928, 930 (Nev. 1996) (“Whether a

                         27   2
                                As discussed below, plaintiff’s negligence claim against Yuga Labs is barred by the economic
                         28   loss doctrine. See Sec. III.B.3.

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                          1   defendant owes a plaintiff a duty of care is a question of law.”); Tapia v. Cal-western

                          2   Reconveyance Corp., 2012 WL 3231018, at *5 (D. Nev. Aug. 6, 2012) (dismissing negligence

                          3   claim where no existing duty to exercise reasonable care).

                          4            Here, where the purported “duties” plaintiff alleges are entirely manufactured and do not

                          5   exist as a matter of law, the claim against Yuga Labs must be dismissed. Without any support in

                          6   fact or law, plaintiff claims that Yuga Labs had a “duty to monitor” the Bored Ape Yacht Club

                          7   community to “ensur[e] the BAYC NFTs used to access private benefits on the BAYC platform

                          8   were not the product of theft or fraud and being improperly used to gain access,” to respond and

                          9   act quickly when stolen BAYC NFTs were detected or reported by users, and to alert and

                         10   cooperate with law enforcement officials to retrieve stolen BAYC NFTs. Compl. ¶¶ 12, 138.

                         11   Plaintiff also invents a purported duty “to provide adequate customer service and reporting

                         12   measures” to allow individuals to report thefts or illegal activity regarding BAYC NFTs to
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                         13   “competent customer service agents.” See id. ¶¶ 12, 139.

                         14            Setting aside the baseless suggestion that Yuga Labs would not assist law enforcement,

                         15   Yuga Labs has found no case in the Ninth Circuit, or elsewhere, recognizing anything close to

                         16   these purported “duties,” much less finding negligence based on them. 3 On the contrary, in the

                         17   only case involving digital assets and similar factual circumstances, a court in the United

                         18   Kingdom recently held that the defendant developers of a digital currency had no duty to protect

                         19   against theft of users’ digital assets by third parties or to allow their users the means to recover

                         20   stolen digital assets. See Tulip Trading Ltd. v. Bitcoin Ass’n for BSV & Others [2022] EWHC

                         21   667 (Ch) BL-2021-000313; Declaration of Jennifer Bretan, Ex. A (“Tulip Trading”).

                         22            Tulip Trading is directly on point. Plaintiff was the victim of a computer hack at his

                         23   home office, leading to the loss of billions of dollars-worth of Bitcoin. Ex. A at p.3, ¶ 3. In

                         24   addition to reporting the theft to police, who could not locate the perpetrator, plaintiff sued 16

                         25   core software developers of Bitcoin (who had no involvement in the hack but who allegedly

                         26   3
                                If anything, the actual facts suggest the very opposite is true. While unnecessary to a decision
                              here given the absence of allegations focused on the BAYC website, Yuga Labs’ terms and
                         27   conditions (applicable to holders of the Bored Ape and Mutant Ape NFTs) expressly disclaim
                              responsibility for the safety and management of Bored Ape and Mutant Ape NFTs, for holders’
                         28   digital wallets, and for transactions involving digital collectibles. See Muniz Decl. ¶ 8.
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                          1   “controlled” the digital asset networks), arguing that they owed plaintiff a duty of care and should

                          2   assist in regaining his control and use of the stolen assets. Id. at p. 3, ¶ 6.

                          3            The High Court summarily rejected the argument that the Bitcoin developers owed a duty

                          4   to protect cryptocurrency owners from third party fraud and the loss of their assets. Id. at pp. 21-

                          5   22, ¶ 87; p. 24, ¶¶ 99-100 (recognizing “the complaint made is of failures to act” and “there is no

                          6   general duty to protect others from harm.”). Declining to impose a new-fangled legal duty of

                          7   care on the Bitcoin developers, the Court held that doing so would be much more than an

                          8   incremental extension of the law, and “cannot realistically be argued to be fair, just and

                          9   reasonable.” Id. at p. 26, ¶ 109. While based on English common law, Nevada law derives from

                         10   the same common law tort principles, and the decision illustrates both the lack of any duty and

                         11   why courts will not adopt improvident new legal duties of the type plaintiff seeks to impose here.

                         12            As in Tulip Trading, under Nevada law, a private entity has no duty to protect another
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                         13   from dangerous or criminal activity committed by a third party unless the parties have a special

                         14   relationship. See Scialabba, 921 P.2d at 930. As set forth below, there is no special relationship

                         15   between plaintiff and Yuga Labs. Nor did Yuga Labs voluntarily assume any purported duties

                         16   through its acts or representations. Because Nevada law does not impose a duty on Yuga Labs to

                         17   “monitor the BAYC community” as plaintiff suggests, or to “provide adequate customer service

                         18   and reporting measures” (consistent with plaintiff’s suggested standards), no plausible negligence

                         19   claim is alleged against Yuga Labs and it must be dismissed. See, e.g., Dearaujo v. PNC Bank,

                         20   2012 WL 5818131, at *4 (D. Nev. Nov. 15, 2012) (dismissing negligence claim with prejudice

                         21   where plaintiff failed to establish the alleged duty under Nevada law). 4

                         22                          a.      Plaintiff Fails To Allege A Special Relationship Giving Rise To
                                                             A Duty By Yuga Labs
                         23

                         24            There is no duty to control the dangerous conduct of another under Nevada law (such as
                         25   protecting against a third-party attack) unless a special relationship exists between the parties.
                         26   4
                                In effect, plaintiff offers a circular theory of negligence: manufacturing “duties” based on what
                         27   Yuga Labs allegedly failed to do. If that were enough, negligence could be made out in every
                              instance. If anything, the very opposite is true here. Because the claimed duties here do not
                         28   exist as a matter of law, Yuga Labs cannot be shown to have breached them.

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                          1   See Scialabba, 921 P.2d at 930; see also Beckman v. Match.com, LLC, 2017 WL 1304288, at *3-

                          2   4 (D. Nev. Mar. 10, 2017), aff’d, 743 F. App’x 142 (9th Cir. 2018). Short of pleading a “special

                          3   relationship” with Yuga Labs, plaintiff’s theory of negligence necessarily fails.

                          4          Nevada courts have recognized special relationships in several specific contexts, none of

                          5   which are applicable here. See Lee v. GNLV Corp., 22 P.3d 209, 212 (Nev. 2001) (collecting

                          6   cases recognizing a special relationship between innkeeper-guest, teacher-student, employer-

                          7   employee, and restaurant-patron); see also Scialabba, 921 P.2d at 930 (collecting cases

                          8   recognizing special a relationship between landowner-invitee, businessman-patron, school

                          9   district-pupil, hospital-patient, and carrier-passenger). As the Nevada Supreme Court has found,

                         10   the special relationship exception to the general “no duty” rule only comes into play when “the

                         11   ability of one of the parties to provide for his own protection has been limited in some way by his

                         12   submission to the control of another.” Sparks v. Alpha Tau Omega Fraternity, Inc., 255 P.3d
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                         13   238, 244-45 (Nev. 2011) (quotation omitted). Control is a “crucial factor” in establishing liability

                         14   in the context of special relationships. Id. It “must be real and not fictional and, if exercised,

                         15   would meaningfully reduce the risk of the harm that actually occurred.” Id. at 245. Absent that

                         16   degree of control, “there is no special relationship giving rise to a duty of reasonable care.” Id.

                         17          The Complaint does not plausibly allege a special relationship between plaintiff and Yuga

                         18   Labs. Far from it. The allegations much more readily demonstrate that plaintiff’s predicament

                         19   was of his own making. Beckman, 2017 WL 1304288, at *3-4 (no negligence claim where

                         20   plaintiff was not under defendant’s control). Here, the key facts leading to the loss of plaintiff’s

                         21   NFTs do not involve Yuga Labs, nor do they demonstrate that Yuga Labs had the type of control

                         22   over plaintiff necessary to establish liability. Plaintiff concedes that he purchased his Bored Ape

                         23   and Mutant Ape NFTs from a secondary seller on OpenSea. Compl. ¶¶ 30-32. He pleads that

                         24   those NFTs were stolen through a fake link to the NFT Trader website provided by @Nodelee,

                         25   who he met on a Discord server for Cool Cats (an NFT collection unaffiliated with Yuga Labs).

                         26   Id. at ¶¶ 46-51. None of this has anything whatsoever to do with Yuga Labs or even hints at a

                         27   special relationship.

                         28          In place of facts making that showing, plaintiff offers only that Yuga Labs “controls” the

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                          1   BAYC community and was aware that holders of coveted NFTs may be at “heightened risk” of

                          2   “criminal attacks” Id. at ¶ 64. This averment is wholly conclusory and just state the obvious as to

                          3   holders of any valuable item. What is clear is that neither does anything to suggest a special

                          4   relationship giving rise to a duty to prevent third-party theft of NFTs, much less in the specific

                          5   manner plaintiff seeks to impose on Yuga Labs.

                          6            Plaintiff also cannot show that his ability to protect himself from phishing scams was in

                          7   any way limited by or subject to Yuga Labs’ control. The Complaint is replete with allegations

                          8   that plaintiff took steps to protect himself and knew of the dangers that scams and hacks posed to

                          9   owners of valuable NFTs. When setting up the trade that ultimately led to the theft of his NFTs,

                         10   plaintiff admits that he refused to transact using trading sites with which he was “unfamiliar” and

                         11   specifically proposed NFT Trader because he heard it was “legitimate and trustworthy.” Compl.

                         12   ¶ 47. According to plaintiff, “[m]any illegal thefts and transfers of BAYC NFTs have been
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                         13   highly publicized across the internet and garnered national media attention.” Id. ¶ 140. Thus,

                         14   plaintiff’s own allegations make clear that he was aware of the risk of online theft of his NFTs

                         15   and, but for his own missteps, had the ability to protect himself. In no way was his ability to do

                         16   so limited by submission to the control of another. Sparks, 255 P.3d at 245. 5

                         17            The decision in Beckman makes the point well. In that case, plaintiff was the victim of an

                         18   assault by a man she met on Match.com’s dating service. 2017 WL 1304288, at *1. Following

                         19   the attack, the plaintiff sued Match for negligence, and Match moved to dismiss, arguing that no

                         20   special relationship existed between the parties such that Match owed duties to plaintiff under

                         21   Nevada law. Id. at *3. The Court agreed and dismissed the complaint, noting “Match was so far

                         22   removed from any relationship between [plaintiff and her attacker] at the time of the attack that

                         23   no special relationship between Match and [plaintiff] existed.” Id. at *4. The Ninth Circuit

                         24   affirmed, holding that the negligence claim failed because “Nevada courts have never recognized

                         25   5
                               There is also no duty to warn or protect plaintiff where the danger was “open and obvious.”
                         26   Doe v. SexSearch.com, 551 F.3d 412, 420 (6th Cir. 2008) (“Where only one conclusion can be
                              drawn from the established facts, the issue of whether a risk was open and obvious may be
                         27   decided by the court as a matter of law.”) (quotation omitted). Here, plaintiff admits that the risk
                              of attacks by NFT scammers and thieves online was no secret. Id. (“Internet users' anonymity
                         28   and potential for false personal representations are well known.”).

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                          1   a special relationship akin to that between [plaintiff and defendant],” and that plaintiff failed to

                          2   allege a special relationship where her ability to protect herself was in no way limited by any

                          3   “submission to the control of the other.” Beckman v. Match.com, LLC, 743 F. App’x 142, 143

                          4   (9th Cir. 2018); see also Bibicheff v. PayPal, Inc., 2020 WL 2113373, at *4-5 (E.D.N.Y. May 4,

                          5   2020) (defendant PayPal had no duty to monitor and investigate plaintiff’s account for third-party

                          6   criminal’s activity because no special relationship existed between plaintiff and PayPal or PayPal

                          7   and the bad actor), aff'd, 844 F. App'x 394 (2d Cir. 2021).

                          8          Laid bare, plaintiff’s central grievance is that, because Yuga Labs created smart contracts

                          9   for a series of NFTs that are now considered “blue-chip” (i.e., digital art collectibles that are the

                         10   most highly coveted), it somehow has a duty to protect him (and all others in the community of

                         11   Bored Ape and Mutant Ape holders) from third-party theft, resale, and use. See Compl. ¶ 143

                         12   (“But for BAYC’s breach of its duty of reasonable care owed to Mr. Armijo as a BAYC
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                         13   community member, Mr. Armijo’s BAYC NFTs would not have been a target for thieves because

                         14   their utility would have been significantly diminished. It was BAYC’s breach of its duties that

                         15   caused Mr. Armijo to lose access and benefits provided by BAYC to its BAYC NFT owners.”).

                         16   But nothing in those claims demonstrates a special relationship with Yuga Labs or its control

                         17   over plaintiff. See Scialabba, 921 P.2d at 930; see also Wiley v. Redd, 885 P.2d 592, 595-96

                         18   (Nev. 1994) (no special relationship between alarm company and police department the company

                         19   alerted); Sanchez, 221 P.3d at 1280-81 (no special relationship between pharmacy and third

                         20   parties harmed by pharmacy’s patients). Just because the Bored Ape project met with great

                         21   success, and the NFTs became valuable, does not mean Yuga Labs now has a special duty to

                         22   provide protection to the BAYC community, as plaintiff suggests. Compl. ¶ 113. And absent a

                         23   special relationship, the question of whether Yuga Labs could foresee that owners of its NFTs

                         24   would be targeted by scammers and thieves (id. ¶ 72) is irrelevant. Beckman, 2017 WL 1304288,

                         25   at *4 (“Only after a special relationship is established does the defendant have a duty to warn

                         26   foreseeable victims of foreseeable harms.”); Sanchez, 221 P.3d at 1280-81 (no duty to aid others

                         27   unless both a special relationship exists and the harm from defendant’s conduct is foreseeable).

                         28          The consequence of accepting plaintiff’s theory and recognizing a new type of duty in

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                          1   such circumstances is not trivial. It would introduce endless liability for creators of goods that

                          2   might, one day, be the target of theft. The absurdity of that proposition is self-evident. Imagine a

                          3   Ferrari owner suing the manufacturer, or car club, because her car was stolen months (or years)

                          4   after she purchased it on the secondary market. The practical impact and cost of imposing a duty

                          5   on creators to protect all downstream purchasers from harm (or to deter such attacks, as plaintiff

                          6   suggests) is also contrary to public policy, and weighs against imposition of a new legal duty

                          7   where none exists. See Wiley, 885 P.2d at 596 (“The concept of legal duty necessarily reflects

                          8   considerations of social policy, and we perceive no sound basis for extending the reach of duty to

                          9   include [defendant] under the circumstances of this case.”). 6 As the court in Tulip Trading noted,

                         10   “the fact that the alleged duty would be owed to an unlimited class is another consideration

                         11   militating against the existence of a duty of care.” Ex. A at p. 25, ¶ 104. Creators of coveted

                         12   NFTs, like Yuga Labs, simply cannot insure against every unrelated, downstream loss suffered
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                         13   by members of the BAYC community. That is particularly true here, where Yuga Labs had

                         14   nothing whatsoever to do with the circumstances leading to the theft of plaintiff’s NFTs.

                         15                           b.      There Is No Other Basis To Impose A Duty On Yuga Labs

                         16            Plaintiff’s inability to plead a special relationship is fatal to his negligence claim against

                         17   Yuga Labs. Suggesting that it had a “duty to monitor” or “to provide adequate customer service”

                         18   does not salvage the claim. Compl. ¶¶ 138-139. There is no general duty to monitor the

                         19   provision of its services to prevent theft. See Bledsoe v. US Bancorp, 2013 WL 12129951, at *5

                         20   (C.D. Cal. June 12, 2013) (dismissing negligence claim and rejecting plaintiff’s theory of bank’s

                         21   duty to prevent fraudulent activity and to maintain adequate safeguards, holding that “case law

                         22   has made clear that banks do not owe their depositors a duty to monitor or police their

                         23   accounts.”); see also Tapia, 2012 WL 3231018, at *5 (negligence claim dismissed where

                         24   6
                                Finding a duty under these circumstances also suggests an open-ended obligation to investigate,
                              which courts disfavor. See Yanase v. Auto. Club of S. Cal., 212 Cal. App. 3d 468, 475-76 (Cal.
                         25   Ct. App. 1989) (no special relationship between plaintiff injured at motel and automobile club that
                              had provided lodging guide, because court “would be imposing not just a duty to warn but a duty
                         26   to investigate, monitor and evaluate reports of off-premises dangers. Given the potential scope of
                              this duty, we are reluctant to impose it at all.”); see also Tulip Trading, Ex. A at p. 25, ¶ 105
                         27   (rejecting duty where defendants “would be obliged to investigate and address any claim that a
                              person had lost their private keys or had them stolen. How they would go about that in practice…
                         28   is wholly unclear.”).
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                          1   “[d]efendants had no extra-contractual duty to exercise reasonable care to protect borrowers or to

                          2   advance their interests”); Bibicheff v. PayPal, 844 F. App’x 394, 395-96 (2d Cir. 2021) (summary

                          3   order) (website has no duty to monitor for and investigate third party accounts used to commit

                          4   fraud). The notion that Yuga Labs was somehow obliged to “ensure that NFT consumers are

                          5   provided with safeguards and recourse from harm” (Compl. ¶ 86) thus runs contrary to well

                          6   established Nevada law. Likewise, Yuga Labs has identified no case in Nevada (or elsewhere)

                          7   where a court imposed a duty to provide adequate customer service and reporting measures. In

                          8   fact, the law suggests that such a duty would not be recognized. See, e.g., Phoneternet, LLC v.

                          9   LexisNexis Risk Sols., Inc., 2019 WL 4748271, at *11 (N.D. Tex. Sept. 30, 2019) (dismissing

                         10   negligence claim where plaintiff “cites no legal authority to support its contention that

                         11   [defendant] owed it or breached a duty arising from a special relationship based on [calls to

                         12   defendant’s] customer service department and representations made during those calls.”), aff’d,
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                         13   816 F. App’x 909 (5th Cir. 2020).

                         14           Plaintiff also does not plausibly allege that Yuga Labs or its employees somehow

                         15   voluntarily assumed a duty of care in connection with the theft of his NFTs. That argument is

                         16   foreclosed by plaintiff’s admission that, when he contacted Yuga Labs’ support, “the employee

                         17   told [plaintiff] that… there was nothing further BAYC could do to help him.” Compl. ¶¶ 55-57.

                         18   No other interaction with Yuga Labs or its employees, that could possibly result in an assumption

                         19   of duty, is alleged.

                         20                  2.      Plaintiff Cannot Allege That Yuga Labs Caused His Injury

                         21           Legal causation has two components: actual and proximate cause. Clark Cnty. Sch. Dist.

                         22   v. Payo, 403 P.3d 1270, 1279 (Nev. 2017). To demonstrate actual cause, plaintiff must allege

                         23   that “but for” defendant’s actions, plaintiff would not have suffered the injury. See Goodrich &

                         24   Pennington Mortg. Fund, Inc. v. J.R. Woolard, Inc., 101 P.3d 792, 797 (Nev. 2004). Proximate

                         25   cause is “any cause which in natural foreseeable and continuous sequence, unbroken by any

                         26   efficient intervening cause, produces the injury complained of and without which the result

                         27   would not have occurred.” Id. at 797 (quoting Taylor v. Silva, 615 P.2d 970, 971 (Nev. 1980)

                         28   (internal quotation marks omitted)). Although causation under Nevada law is generally an issue

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                          1   for the trier of fact, it becomes a question of law if the evidence cannot support any other

                          2   inference. Joynt v. Cal. Hotel & Casino, 835 P.2d 799, 801 (Nev. 1992). In assessing causation,

                          3   the court need not accept as true mere “labels and conclusions” or a “formulaic recitation of the

                          4   elements of a cause of action.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).

                          5   “[C]onclusory allegations of law and unwarranted inferences are insufficient to defeat a motion to

                          6   dismiss.” Benavidez v. Cnty. of San Diego, 993 F.3d 1134, 1145 (9th Cir. 2021) (quoting Adams

                          7   v. Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004)).

                          8          Plaintiff’s claim that Yuga Labs was the actual or proximate cause of his injury falls flat.

                          9   The assertion that “[Yuga Labs’] negligence was a direct and proximate cause of Mr. Armijo’s

                         10   resulting damages” from the theft of his NFTs is not enough. See Compl. ¶ 143. That statement

                         11   is conclusory and plainly insufficient. See e.g., Iqbal, 556 U.S. at 678. More fundamentally, no

                         12   injury flowed from any claimed breach by Yuga Labs. Even if Yuga Labs fulfilled each of the
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                         13   supposed “duties” (see Compl. ¶ 141), plaintiff still would have suffered the alleged injury. The

                         14   injury here was the result of (1) a criminal act; and (2) plaintiff’s own missteps. See id. ¶¶ 46-51.

                         15   But for those acts, plaintiff’s NFTs would not have been stolen, and he would not have lost the

                         16   associated rights in them. Plaintiff alone decided to trade his NFTs with an anonymous third

                         17   party (see id. ¶¶ 47-48) and, as a result, he fell prey to a phishing scam (see id. ¶ 50). Yuga Labs

                         18   is noticeably absent in that chain of events and thus cannot be the legal cause of his injury. See

                         19   PayPal, 844 F. App’x at 395 (causation lacking where alleged injury was result of third party’s

                         20   unauthorized use of plaintiff’s financial information). Further, even if the duties plaintiff seeks to

                         21   impose did exist, those obligations allegedly kick in only after plaintiff’s NFTs were stolen. If

                         22   so, they would be after the fact of the theft and so could not be said to have caused that harm.

                         23                  3.     The Economic Loss Doctrine Bars Any Claimed Damages

                         24          In a negligence case, the economic loss doctrine bars recovery for economic losses absent

                         25   personal injury or damage to other property. Loc. Joint Exec. Bd. of Las Vegas, Culinary

                         26   Workers Union, Loc. No. 226 v. Stern, 651 P.2d 637, 638 (Nev. 1982) (citing Robins Dry Dock &

                         27   Repair Co. v. Flint, 275 U.S. 303 (1927)). Pure economic loss is generally defined as the loss of

                         28   the benefit of the user’s bargain, including “pecuniary damage for inadequate value, the cost of

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                          1   repair and replacement of the defective product, or consequent loss of profits, without any claim

                          2   of personal injury or damage to other property.” Calloway v. City of Reno, 993 P.2d 1259, 1263

                          3   (Nev. 2000) overruled on other grounds by Mahon v. Howard & Howard Att'ys PLLC, 499 P.3d

                          4   1176 (Nev. 2021). The purpose of the rule “is to shield a defendant from unlimited liability for

                          5   all of the economic consequences of a negligent act, particularly in a commercial or professional

                          6   setting, and thus to keep the risk of liability reasonably calculable.” Stern, 651 P.2d at 638.

                          7            Even if plaintiff could establish that Yuga Labs owed him a duty, breached that duty, and

                          8   somehow caused plaintiff harm, the claim would still fail because only economic harm is alleged.

                          9   Plaintiff claims he lost his “BAYC NFTs worth at least $1 million” and “commercialization

                         10   rights to the ape characters underlying his BAYC NFTs and their future earning potential worth,

                         11   at a minimum, $5 million.” See Compl. ¶ 143. 7 This “benefit of the bargain” type of loss is

                         12   precisely what the economic loss doctrine prohibits. Calloway, 993 P.2d at 1263 (“[T]here can
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                         13   be no recovery in tort for purely economic losses” which are defined as “the loss of the benefit of

                         14   the user’s bargain”) (quotation omitted). Because no personal injury or property damage is

                         15   alleged, the economic loss doctrine would bar such a claim (if one existed at all). See Stern, 651

                         16   P.2d 637 (negligence and strict liability claim for lost wages and employment benefits barred by

                         17   economic loss doctrine); Arco Prods. Co. v. May, 948 P.2d 263, 266 (Nev. 1997) (barring

                         18   recovery for lost profits due to defective cash registers). To hold otherwise would mean Yuga

                         19   Labs has “unlimited liability for all of the economic consequences of a negligent act,” a result

                         20   clearly barred in such circumstances. Stern, 651 P.2d at 638.

                         21   IV.      CONCLUSION
                         22            Plaintiff put himself in a position to have his NFTs stolen and that is unfortunate. But it

                         23   does not provide him license to pursue baseless claims against others. Here, where plaintiff

                         24   cannot demonstrate that personal jurisdiction over Yuga Labs is proper, and cannot otherwise

                         25   overcome the many, fundamental legal and factual deficiencies dooming a purported negligence

                         26   claim, Yuga Labs respectfully requests that its motion to dismiss be granted with prejudice.

                         27   7
                                Plaintiff not only fails to ground the more than $6 million in damages he seeks in reality
                              (Compl. ¶ 143), he never reconciles those claimed damages with the fact that, as alleged, the
                         28   theft occurred while he was attempting to trade away one of his two Mutant Ape NFTs. Id. ¶ 46.
                                  YUGA LABS’ MOTION TO DISMISS                 23               Case No.: 3:22-CV-00112-MMD-CLB
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                          1   Dated: June 3, 2022               FENWICK & WEST LLP

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                          1                                   CERTIFICATE OF SERVICE

                          2   Pursuant to F.R.C.P. 5(b) and Electronic Filing Procedure IV(B), I certify that on June 3, 2022, a

                          3   true and correct copy of YUGA LABS’ MOTION TO DISMISS THE COMPLAINT AND

                          4   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF was

                          5   transmitted electronically through the Court’s CM/ECF e-filing electronic notice system to all

                          6   attorneys associated with the above-captioned case.

                          7

                          8                                                /s/ Jennifer C. Bretan
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                               COMPLAINT
